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 8                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11 GABRIELA SOLANO, on behalf of               Case No.: 2:21-cv-01576-AB (KSx)
   herself and those similarly situated,
12
13              Plaintiff,                     ORDER DISMISSING ACTION
                                               WITH PREJUDICE
14        vs.
15 U.S. IMMIGRATION AND
16 CUSTOMS ENFORCEMENT; TAE D.
   JOHNSON, Acting Director of U.S.
17 Immigration and Customs Enforcement;
   THOMAS P. GILES, Director of Los
18 Angeles Field Office, U.S. Immigration
   and Customs Enforcement; DAVID
19 JENNINGS, Director of San Francisco
20 Field Office, U.S. Immigration and
   Customs Enforcement,
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                Defendants.
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                           ORDER DISMISSING ACTION WITH PREJUDICE
Case 2:21-cv-01576-AB-KS      Document 71 Filed 07/12/22        Page 2 of 2 Page ID
                                     #:686



 1         Based upon the parties’ Joint Request for Order of Dismissal Pursuant to Fed.
 2 R. Civ. P. 41(a)(2), (Dkt. No. 70), with good cause appearing, and pursuant to the
 3 terms of the parties’ settlement agreement, (Dkt. No. 70-1), the Court hereby
 4 DISMISSES Plaintiff Gabriela Solano’s claims WITH PREJUDICE. Pursuant to
 5 the parties’ stipulation, the Court shall retain jurisdiction to enforce the terms of the
 6 parties’ settlement agreement. This case is now closed.
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 8 DATED: July 12, 2022
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                                             HON. ANDRÉ BIROTTE, JR.
11
                                             UNITED STATES DISTRICT JUDGE
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                            ORDER DISMISSING ACTION WITH PREJUDICE
